
174 P.3d 1099 (2007)
217 Or. App. 407
STATE of Oregon, Plaintiff-Respondent,
v.
Jesus REYNEL-RANGEL, Defendant-Appellant.
050140145; A128825.
Court of Appeals of Oregon.
Submitted on Record and Briefs October 31, 2007.
Decided December 26, 2007.
Peter A. Ozanne, Executive Director, Peter Gartlan, Chief Defender, Legal Services Division, and Ryan T. O'Connor, Deputy Public Defender, Office of Public Defense Services, filed the opening brief for appellant. On the reply brief were Peter Gartlan, Chief Defender, Legal Services Division, and Ryan T. O'Connor, Deputy Public Defender.
Hardy Myers, Attorney General, Mary H. Williams, Solicitor General, and Laura S. Anderson, Senior Assistant Attorney General, filed the brief for respondent.
Before HASELTON, Presiding Judge, and ARMSTRONG and ROSENBLUM, Judges.
PER CURIAM.
Affirmed. State v. Rodriguez, 217 Or.App. 24, ___ P.3d ___ (2007).
